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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Rocio Herrera−Nevarez
                                 Plaintiff,
v.                                                  Case No.: 1:17−cv−03930
                                                    Honorable Matthew F. Kennelly
Ethicon, Inc., et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 3, 2018:


        MINUTE entry before the Honorable Matthew F. Kennelly: Based on the revised
calculation of deposition costs submitted by plaintiff's counsel pursuant to the Court's
direction, costs are taxed in favor of plaintiff and against defendants in the total amount of
$37,566.99. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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